Case 4:20-cv-00068-RWS-CMC Document 149-7 Filed 12/18/20 Page 1 of 5 PageID #: 3510




       From: Steve Kardell <skardell@kardelllawgroup.com>
       Subject: RE: Violations of Legal, Ethical, Contractual
       and Fiduciary Obligations
       Date: October 6, 2020 at 9:56:16 AM CDT
       To: "hutch@hsjustice.com" <hutch@hsjustice.com>
       Cc: Rafe Foreman <srforeman@hsjustice.com>, Juan
       Antonio Lozada <juan@tximmigrationlaw.com>

           about Juan’s case. Informa<on, by the way, which I am almost
       certain you would be interested in.




       Steve Kardell

       Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
       Specializa)on



       4514 Cole Avenue, Suite 600
       Dallas, Texas 75205

       Direct: 214-616-4654
       Secure Fax: 469-729-9926
       Email: skardell@kardelllawgroup.com
       Website: www.dallaswhistleblowerlawyer.com




                                                                          Exh 7
Case 4:20-cv-00068-RWS-CMC Document 149-7 Filed 12/18/20 Page 2 of 5 PageID #: 3511




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       immediately noCfy us by telephone (214-707-2466), and destroy the original
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       From: hutch@hsjus<ce.com <hutch@hsjus<ce.com>
       Sent: Tuesday, October 6, 2020 9:54 AM
       To: Steve Kardell <skardell@kardelllawgroup.com>
       Cc: Rafe Foreman <srforeman@hsjus<ce.com>; Juan Antonio Lozada
       <juan@tximmigra<onlaw.com>
       Subject: Re: Viola<ons of Legal, Ethical, Contractual and Fiduciary
       Obliga<ons

       Mr. Kardell

       Can you help me understand why you are discussing Mr. Lozada’s case
       with anyone—much less                                    ? I truly do not
       know how to make it any clearer that not only are you not authorized to
       discuss Mr. Lozada’s case, doing so breaches your legal and ethical
       du<es as a former a`orney. Do not have any further discussions with
       anyone—ANYONE—regarding Mr. Lozada’s case.

       Susan Hutchison




                                                                                   Exh 7
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             505 Pecan Street, Suite 101
               Fort Worth, Texas 76102
                  T: (817) 820-0100
                  F: (817) 820-0111
             www.warriorsforjustice.com

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       On Oct 6, 2020, at 9:48 AM, Steve Kardell
       <skardell@kardelllawgroup.com> wrote:

       Hi guys . Hope all is well with you. I had an interes<ng conversa<on with
                                                    regarding Juan’s case. Call for
       details. No urgency.




                                                                                  Exh 7
Case 4:20-cv-00068-RWS-CMC Document 149-7 Filed 12/18/20 Page 4 of 5 PageID #: 3513




       <image001.jpg>

       Steve Kardell

       Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
       Specializa)on

       <image002.png>

       4514 Cole Avenue, Suite 600
       Dallas, Texas 75205

       Direct: 214-616-4654
       Secure Fax: 469-729-9926
       Email: skardell@kardelllawgroup.com
       Website: www.dallaswhistleblowerlawyer.com
       <image003.jpg>
       <image004.jpg>

       <image005.png> <image006.png> <image007.png> <image008.
       png>


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       immediately noCfy us by telephone (214-707-2466), and destroy the original
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       From: Steve Kardell <skardell@kardelllawgroup.com>
       Sent: Thursday, September 3, 2020 10:57 AM
       To: hutch@hsjus<ce.com



                                                                                   Exh 7
Case 4:20-cv-00068-RWS-CMC Document 149-7 Filed 12/18/20 Page 5 of 5 PageID #: 3514




       Cc: Rafe Foreman <srforeman@hsjus<ce.com>; Juan Antonio Lozada
       <juan@tximmigra<onlaw.com>
       Subject: Re: Viola<ons of Legal, Ethical, Contractual and Fiduciary
       Obliga<ons

       Hey, problem solved. This could have all
       been avoided had you just sent me a copy of
       what you planned to file.
       Sent from my iPhone




       On Sep 2, 2020, at 9:34 PM, Steve Kardell
       <skardell@kardelllawgroup.com> wrote:




                                                                             Exh 7
